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15
                              UNITED STATES DISTRICT COURT
16
                             CENTRAL DISTRICT OF CALIFORNIA
17
18
         MIKE BRANG, Individually and                        Case No: 2:14-cv-01885-PA-JC
19
         On Behalf of all others Similarly
20       Situated,                                           NOTICE OF SETTLEMENT
21
                                 Plaintiffs,
22       v.
23
         ALLY FINANCIAL, INC.,
24
                                 Defendant.
25
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        ______________________________________________________________________________________________________
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 1            NOTICE IS HEREBY GIVEN that this case has been settled in its entirety.
 2     The Parties anticipate filing a stipulation for dismissal of this action in its entirety
 3     with prejudice within 30 days. Plaintiff requests that all pending dates and filing
 4     requirements be vacated and that the Court set a deadline on or after July 3, 2014
 5     for filing a stipulation for dismissal.
 6
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 8                                                            Hyde & Swigart
 9
10     Date: June 5, 2014                                By: /s/Jessica R. K. Dorman
                                                             Jessica R. K. Dorman
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